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ABIGAIL GAURINO

               IN THE UNITED STATES DISTRICT COURT

                    FOR THE DISTRICT OF HAWAI‘I

ATOOI ALOHA, LLC, an[sic] Nevada )         Civil No. 16-00347 JMS - RLP
Limited Liability Company, CRAIG B. )
STANLEY, as TRUSTEE for THE         )      CERTIFICATE OF SERVICE
EDMON KELLER AND CLEAVETTE )               RE: ABNER GAURINO, AURORA
MAE STANLEY FAMILY TRUST;           )      GAURINO AND ABIGAIL
CRAIG B. STANLEY, individually;     )      GAURINO’S MOTION FOR
MILLICENT ANDRADE, individually, )         LEAVE TO FILE THIRD PARTY
                                    )      COMPLAINT DATED
                   Plaintiffs,      )      SEPTEMBER 29, 2017; EXHIBITS
                                    )      A-J AND PROPOSED THIRD
            vs.                     )      PARTY COMPLAINT [D No.149]
                                    )       (Caption continued on next page)
ABNER GAURINO, AURORA               )
GAURINO, ABIGAIL GAURINO,           )
INVESTORS FUNDING                   )
CORPORATION, as Trustee for an      )
unrecorded Loan Participation       )
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Agreement dated June 30, 2014;        )
APT-320, LLC, a Hawai‘i Limited       )
Liability Company, CRISTETA C.        )
OWAN, an individual; ROMMEL           )
GUZMAN; FIDELITY NATIONAL             )
TITLE & ESCROW OF HAWAI‘I and         )
DOES 1-100 Inclusive,                 )
                                      )
                   Defendants         )
                                      )

                            CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on September 29, 2017 a copy of the Gaurino
Defendants’ Motion for Leave to File Third Party Complaint Dated September 29,
2017; Exhibits A-J and Proposed Third Party Complaint [D No. 149]were served
via ecf to the following:
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CRAIG B. STANLEY, Individually; and
MILLICENT ANDRADE, Individually
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CRISTETA C. OWAN

Dated: Honolulu, Hawai‘i, October 9, 2017.
                                             /s/ John R. Remis, Jr.
                                             John R. Remis, Jr.
                                             Robert D. Eheler, Jr.
                                             Attorneys for Gaurino Defendants
